        Case 4:04-cr-00239-JM          Document 534         Filed 06/09/08       Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

vs.                                                     No. 4:04CR00239 JMM

BARRY ALLEN WEATHERFORD,
LISA M. DUNAWAY, a/k/a Lisa Weatherford,
ASTRID C. MENDIOLA,
MARK S. FOUTS,
DANIEL JAVIER JIMINEZ, a/k/a “Danny”;
CHRIS ALEXANDER,
JOSE MENDIOLA,
ALEJANDRO G. GARCIA, and
MARCOS ANTONIO PONCE


                               FINAL ORDER OF FORFEITURE

       WHEREAS, on December 13, 2007, this Court entered an Amended Preliminary Order

of Forfeiture, ordering defendants to forfeit their interest in the following:

       A.      All that lot or parcel of land, together with its buildings, appurtenances,

               improvements, fixtures, attachments, and easements located at 6906 Arch Street,

               Little Rock, Arkansas 72206; and described as follows:

       That part of the west one half of the southeast quarter of Section 28, Township 1 North,
       Range 12 West, now in the City of Little Rock, Pulaski County, Arkansas, described as
       follows: Commencing 863 feet north of the quarter section corner common to Sections 28
       and 33 and run thence north 86 degrees east 567 feet to the west boundary of the
       Highway right of way; thence north 11 degrees east 246 feet along the west boundary
       line of the Highway right of way for the point of beginning; run thence north 77 degrees
       west 100 feet; thence north 2 degrees east 166 feet to a wire fence; thence southeasterly
       along said fence 130 feet to the west line of Highway 167; thence southwesterly along
       the west line of said highway a distance of 175 feet to the point of beginning.

       Including, and in addition to the above property, Defendant, Daniel Javier Jiminez, a/k/a

“Danny”, a single man, shall also forfeit pursuant to 21 U.S.C. § 853 the following as was

charged:
Case 4:04-cr-00239-JM      Document 534        Filed 06/09/08      Page 2 of 4




B.   All that lot or parcel of land located in Faulkner County, Arkansas, together with
     its buildings, appurtenances, improvements, fixtures, attachments, and easements
     described as “Part of the SW 1/4 SW 1/4 Section 20, T6N, R12W, described as
     beginning at a point 496.48 feet east of the southwest corner of Section 20, T6N,
     R12W, thence northerly 1229.88 feet to the south right of way of county road;
     thence westwardly along said county road 168.60 feet; thence southerly to the
     south line of Section 20, T6N, R12W, thence east along said line 165.495 feet to
     the point of beginning. LESS AND EXCEPT the west 30 feet of this tract.”

C.   All that lot or parcel of land located in Faulkner County, Arkansas, together with
     its buildings, appurtenances, improvements, fixtures, attachments, and easements
     described as “Part of the SW 1/4 SW 1/4 Section 20, T6N, R12W, described as
     beginning at a point 661.98 feet west of the southeast corner of the SW 1/4 SW
     1/4, Section 20, T6N, R12W, run thence west 165.495 feet; run thence north
     1229.88 feet; run thence east along the Acklin Gap County road right of way
     167.20 feet; run thence south 1209.49 feet to the point of beginning. Also known
     as Lot 4.”

D.   All that lot or parcel of land located in Faulkner County, Arkansas, together with
     its buildings, appurtenances, improvements, fixtures, attachments, and easements
     described as “Part of the SW 1/4 SW 1/4 Section 20, T6N, R12W, Faulkner
     County, Arkansas, more particularly described as beginning at a point 496.48 feet
     west of the southeast corner of SW 1/4 SW 1/4 Section 20; thence continue west
     165.49 feet; thence north 1209.49 feet; thence east 165.57 feet; thence south
     1204.99 feet to the point of beginning. Also known as Lot 5.” (558 Acklin Gap
     Road, Faulkner County, Conway, Arkansas 72032, parcel number 001-04513-
     000, with a legal description S20-T6N-R12W PT SW SW Lot 5 FD #50,
     approximately 4.56 acres);

E.   All that lot or parcel of land, together with its buildings, appurtenances,
     improvements, fixtures, attachments, and easements described as “Part of the SW
     1/4 SW 1/4 Section 20, T6N, R12W, Faulkner County, Arkansas, more
     particularly described as beginning at a point 330.99 feet west of the southeast
     corner of SW 1/4 SW 1/4 Section 20 thence continue west 165.49 feet; thence
     north 1204.99 feet; thence east 165.74 feet; thence south 1197.63 feet to the point
     of beginning. Also known as Lot 6.” (558 Acklin Gap Road, Faulkner County,
     Conway, Arkansas 72032, parcel number 001-04514-000, with a legal description
     S20-T6N-R12W PT SW SW Lot 6 FD #50, approximately 4.60 acres); and

F.   All that lot or parcel of land, together with its buildings, appurtenances,
     improvements, fixtures, attachments, and easements described as “Part of the SW
     1/4 SW 1/4 Section 20, T6N, R12W, Faulkner County, Arkansas, being more
     particularly described as follows: Beginning at a set ½ inch rebar for the
     southeast corner of said SW 1/4 SW 1/4; thence along the south line of said SW

                                     -2-
        Case 4:04-cr-00239-JM           Document 534         Filed 06/09/08      Page 3 of 4




                1/4 SW 1/4 north 89 degrees 42 minutes 46 seconds west 330.99 feet to a found
                3/8 inch rebar thence north 00 degrees 01 minutes 20 seconds west 1197.52 feet
                to a found 3/8 inch rebar on the south right of way of Acklin Gap Road; thence
                along said right of way south 83 degrees 22 minutes 37 seconds east 333.24 feet
                to a set ½ inch rebar on the east line of said SW 1/4 SW 1/4; thence along said
                east line south 00 degrees 01 minutes 17 seconds east 1160.74 feet to the point of
                beginning.” Said tract is also referred to as Lots 7 and 8, Dunn Hill Addition.

        If any of the above described forfeitable property, as a result of any act or omission of the

defendants:

        a.      Cannot be located upon the exercise of due diligence;

        b.      Has been transferred or sold to, or deposited with, a third party;

        c.      Has been placed beyond the jurisdiction of the court;

        d.      Has been substantially diminished in value, or

        e.      Has been commingled with other property which cannot be divided without

                difficulty;

        it is the intent of the United States, pursuant to Title 21, United States Code, § 853(p) to

seek forfeiture of any property of the Defendants, up to the value of the forfeitable property

described above.

        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette,

a newspaper of general circulation, notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as specified in the Amended

Preliminary Order, and further notifying all third parties of their right to petition the Court within

thirty (30) days for a hearing to adjudicate the validity of their alleged legal interest in the

property;

        WHEREAS, the United States also provided actual notice to known interested parties


                                                  -3-
        Case 4:04-cr-00239-JM         Document 534       Filed 06/09/08      Page 4 of 4




including Jennifer Pennington, Amanda Weatherford’s sister and owner of some of the property,

Hubert Alexander, Attorney for Barry Weatherford, and Shapiro & Kirsch, LLP who represents

Mary Findley, the widow of the Liquor Store owner; and all counsel received a copy of the

amended preliminary order.

       WHEREAS, in relation to title of the properties, the United States has determined that the

$23,000 mortgage from Glenda Skinner to Larry Weatherford and Karen Weatherford was

satisfied and paid in full by the Weatherfords; and, that the judgment lien of Conway Regional

Medical Center against Aaron A. McClinton was satisfied and paid in full on December 18,

2000, as verified through the legal counsel for Conway Regional Medical Center. This

information should clear up any outstanding matters involving the property being forfeited in

this action. There are no known spousal issues involved in this case with any of the defendants

listed above.

       WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

       IT IS ORDERED that all right, title, and interest of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such

property according to law.

       SO ORDERED this 9th day of June, 2008.


                                             __________________________________
                                             UNITED STATES DISTRICT JUDGE




                                               -4-
